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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


 CROW INDIAN TRIBE; et al.,
                                                       CV 17–89–M–DLC
                  Plaintiffs,
                                                  (Consolidated with Case Nos.
     vs.                                             CV 17–117–M–DLC,
                                                     CV 17–118–M–DLC,
 UNITED STATES OF AMERICA; et al.,                   CV 17–119–M–DLC,
                                                      CV 17–123–M–DLC
                  Federal Defendants.               and CV 18–16–M–DLC)
     and
                                                             ORDER
 STATE OF WYOMING; et al.,

                  Defendant-Intervenors.


      On December 29, 2020, this Court ordered Plaintiff Robert H. Aland to

show cause as to why his motion for costs should not be dismissed with prejudice

for failing to respond to the Court’s deadline for a status update. (Doc. 337.)

Aland responded, consenting to the dismissal of his motion (Doc. 325) with

prejudice. (Doc. 338.) Accordingly,

      IT IS ORDERED that Aland’s Motion (Doc. 325) is DISMISSED with

prejudice.




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DATED this 11th day of January, 2021.




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